                  Case 2:17-cr-00101-MHT-TFM Document 155 Filed 02/12/18 Page 1 of 8


AO 2451i (Rev, 09/17)   Judgment in a Criminal Case
                         Sheet I



                                           UNITED STATES DISTRICT COURT
                                                           Middle District of Alabama
                                                                          )
              UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                                                                          )
                                    V.
                                                                          )
                   LEANDERSHAWN ADAMS                                     )
                                                                                  Case Number: 2:17cr101-04-LSC
                                                                          )
                                                                          )       USM Number: 17150-002
                                                                          )
                                                                                   Aimee Cobb Smith
                                                                          )
                                                                                  Defendant's Allomey
                                                                          )
THE DEFENDANT:
   pleadcd guilty to count(s)          One of the Indictment on August 30, 2017

E plcaded nolo contendere to count(s)
  which was accepted by the court.
0was found guilty on count(s)
 aftcr a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                        Offense Ended               Count

 18 USC 1168(b)and 2                 Theft from an Indian Gaming Establishment by an Officer or              12/31/2016

                                     Employee



       The defendant is sentenced as provided in pages 2 through                         of this judgment. The scntenee is imposed pursuant to
the Sentencing Reform Act of 1984.
CI The defendant has been found not guilty on eount(s)

❑ Count(s)                                              0 is      0are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments irnposed by thisjudgment are fully paid. If ordered to pay restitution,
the defendant must notify thc court and United States attorney of material changes in economic circumstances.

                                                                          2/2/2016
                                                                         Date of Imposition of Judgment



                                                                          /s/ L.Scott Coogler
                                                                         Signarure of Judge



                                                                          L. SCOTT COOGLER, UNITED STATES DISTRICT JUDGE
                                                                         Name and Title of Judge


                                                                          2/12/2018
                                                                         Date
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AO 24511 (Rev. 09/17) Judgment in Crirninal Case
                      Sheet 2 — imprisonment

                                                                                                     Judgment — Page     2   of
DEFENDANT: LEANDERSHAWN ADAMS
CASE NUMBER: 2:17cr101-04-LSC

                                                             IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:

  12 Months and 1 Day




      f?i The court makes the following recommendations to the Bureau of Prisons:

  The court recommends that the defendant be designated to a facility near as possible to Wetumpka, Alabama.




      ❑ The defendant is rcmanded to the custody of the United States Marshal.

      CI The dcfendant shall surrender to the United States Marshal for this district:
          El   at                                  DI a.m.     1:1 p.m.     on

          1:1 as notified by the United States Marshal.

      IA Thc defcndant shall surrender for scrvicc of sentence at the institution designated by the Bureau of Prisons:

          Fl before 2 p.m. on           3/2/2018

          El as notified by the United States Marshal.
          ❑ as notificd by the Probation or Pretrial Services Office.



                                                                  RETURN

 I have exccuted this judgment as follows:




          Defendant delivered on                                                         to

 at                                                 , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL



                                                                          By
                                                                                                DEPUTY UNITED STATES MARSHAL
                Case 2:17-cr-00101-MHT-TFM Document 155 Filed 02/12/18 Page 3 of 8



AO 245B (Rev.09/1 7) Judgment in a Criminal Case
                     Sheet 3 — Supervised Release
                                                                                                     Judgment—Page
DEFENDANT: LEANDERSHAWN ADAMS
CASE NUMBER: 2:17crl O1-04-LSC
                                                     SUPERVISED RELEASE
Upon rcicase from imprisonment, you will be on supervised release for a term of :
 3 Years.




                                                    MANDATORY CONDITIONS

l,   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a eontrolled substancc.
3.   You must rcfrain from any unlawful use of a controlled substance. You must submit to onc drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as detcrmined by the court.
            El Thc above drug tcsting condition is suspended, based on the court's determination that you
                pose a low risk of future substance abuse. (check (I.applicable)
4.    0 You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentcnce of
        restitution. (check V applicable)
5.    g You must cooperate in the collection of DNA as dirccted by the probation officer. (check ifapplicable)
6.    1=l You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, el seg.) as
          directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
          reside, work, are a student, or were convictcd of a qualifying offense. (check ffapplicable)
7.    1=l You must participate in an approved program for domestic violence. (check fapplicable)




You must comply with the standard conditions that have been adoptcd by this court as wcll as with any other conditions on the attaehed
page.
               Case 2:17-cr-00101-MHT-TFM Document 155 Filed 02/12/18 Page 4 of 8



 AO 245B (Rev. 09/17) Judgment in a Criminal Case
                      Sheet 3A — Supervised Release
                                                                                                Judgment—Page        -
                                                                                                                     4 77                8
DEFENDANT: LEANDERSHAWN ADAMS
CASE NUMBER: 2:17c001-04-LSC

                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must eomply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expcctations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

l.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a diffcrent time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to thc probation officer, and you must report to thc probation officer as instructed.
3.    You must not knowingly Ieave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answcr truthfully thc questions asked by your probation officer.
5.    You must live at a placc approvcd by the probation officer. If you plan to changc wherc you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipatcd circumstances, you must notify thc probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by thc conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless thc probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before thc changc. If notifying the probation officcr at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected changc.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someonc has bcen
      convicted of a felony, you must not knowingly communicate or intcract with that person without first gctting the permission of the
      probation officer.
9.    If you are arrestcd or questioned by a law cnforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or havc access to a fircarm, ammunition, destructive device, or dangerous wcapon (i.e., anything that was
      designed, or was modified for, thc specific purposc of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law cnforcement agcncy to act as a confidential human source or informant without
      first getting the permission of thc court.
12.   If thc probation officer dctermincs that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact thc
      person and confirm that you have notified thc person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions spccificd by the court and has provided me with a written copy of this
judgment containing thesc conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date
                Case 2:17-cr-00101-MHT-TFM Document 155 Filed 02/12/18 Page 5 of 8

 AO 245B(Rev. 09117) Judgment in a Criminal Case
                     Sheet 3D -- Supervised Release
                                                                                            Judgment— -Page   5   of
DEFENDANT: LEANDERSHAWN ADAMS
CASE NUMBER: 2:17crl01-04-LSC

                                        SPECIAL CONDITIONS OF SUPERVISION
1. The defendant shall provide the probation officer any requested financial information.
2. The defendant shall not obtain new credit without approval of the probation office unless all financial obligations have
been paid.

3. The defendant shall submit to a search of his person, residence, office and vehicle pursuant to the search policy of this
court.
                Case 2:17-cr-00101-MHT-TFM Document 155 Filed 02/12/18 Page 6 of 8


AO 245B (Rev.09/1 7) Judgment in a Criminal Case
                     Sheet 5 — Criminal Monetary Penalties
                                                                                                   Judgment — Page     6       of        8
 DEFENDANT: LEANDERSHAWN ADAMS
 CASE NUMBER: 2:17cr101-04-LSC
                                              CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the sehedule of payments on Sheet 6.


                     Assessment                   JVTA Assessment*                Fine                   Restitution
 TOTALS            $ 100.00                                                                            $ 1,023,186.00



 ❑    The determination of restitution is deferred until                . An Atnended Judgment in a Criminal Case(AO 245C) will bc entered
      after such determination.

 gl The defendant must make restitution (ineluding community restitution) to the following payees in the amount listed below.

      lf the defendant makes a partial payment, each payee shall rcceive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentagc payment column below. However, pursuant to 18 U.S.C. § 3664(1), ail nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                     Total Loss**          Restitution Ordered          Priority or Percentaee
  PCl Gaming Authority                                                                          $1,023,186.00

  Attention: Brenk Pinkston

  1801 Eddie L. Tullis Road

  Montgomery, Alabama 36117




TOTALS                                                         0.00         S            1,023,186.00


El     Restitution amount ordered pursuant to plea agreement $

0     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and dcfault, pursuant to 18 U.S.C. § 3612(g).

0      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      0 the interest requirement is waived for the            ID fine   0 restitution.

       ❑ the interest requirement for the         ❑    fine    0 restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 09/17) Judgment in a Criminai Case
                     Sheet 6 — Schedule ofPayments
                                                                                                             Judgment --- Page   7      of           8
DEFENDANT: LEANDERSHAWN ADAMS
CASE NUMBER: 2:17cr101-04-LSC


                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total eriminal monetary penalties is due as follows:

A           Lump sum payment of S         1,023,286.00         due immediately, balance due

            ID    not later than                                   , or
            gl    in accordance with I=1 C,        1=1 D,      ❑    E, or     gl F below; or

B     0 Payment to begin immediately(may be combined with                   P C,        ❑ D, or      El F below); or

C     ❑     Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                         (e.g., months or years), to commence                      (e.g., 30 or 60 days) after the date of this judgment; or

D     1:1   Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                          (e.g., months or years), to commence                      (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E     ❑     Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F           Spccial instructions regarding the payment of criminal monetary penalties:

             All criminal monetary payments shall be paid to the Clerk, United States District Court, One Church Street,
             Montgomery, Alabama 36104. Any balance of restitution remaining at the start of supervision shall be paid at the
             rate of not less than $100 per month.



Unless thc court has expressly ordered otherwise, if thisjudgment imposes imprisonment,payment ofcriminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, exeept those paymcnts made through the Federal Bureau of Prisons' lnmate
Financial Responsibility Program, are made to the cicrk of the court.

The dcfendant shall receive credit for all payments previously madc toward any criminal monetary penalties imposed.




El    Joint and Several

      Defendant and Co-Defendant Names and Casc Numbers (including defendant number), Total Amount, Joint and Scveral Amount,
      and corresponding payec, if appropriate.
       Leandershawn Adams, 2:17cr101-04-LSC, $1,023,186.00 - total amount, $1,023,186.00 - joint and several amount,
       PCI Gaming Authority - Payee
       Tavon Milak Rampersant, 2:17cr101-02-LSC, $806,308 - total amount, $806,308.00 - joint and several amount, PCI
       Gaming Authority - Payee

O     Thc defendant shall pay the cost of prosecution.

1:1   The defendant shall pay the following court cost(s):

O     The defcndant shall forfeit the defendant's interest in the following property to the Unitcd States:



Payments shall be applied in the following order:(l) assessment,(2) restitution principal,(3) restitution interest,(4)fine principal,(5)fine
interest,(6) eommunity restitution,(7) JVTA assessment,(8) penalties, and (9) eosts, including cost of prosecution and court costs.
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 AO 245B (Rev 09/17) Judgment in a Criminal Case
                     Sheet 6A — Schedule of Payments
                                                                                             Judgment---Page   8   of      8
DEFENDANT: LEANDERSHAWN ADAMS
CASE NUMBER: 2:17cr101-04-LSC

       ADDITIONAL DEFENDANTS AND CO-DEFENDANTS HELD JOINT AND SEVERAL
Case Number
Defendant and Co-Defendant Names                                         Joint and Several              Corresponding Payee,
fincluding defendant number)                           Total Amount           Amount                       if appropriate

Adam Joel Haynes, 2:17cr101-01-LSC                                                                  PCl Gaming Authority
                                                         $1,108,957.00         $1,108,957.00


Jacob Byrd, 2:17cr101-03-LSC                                                                        PCI Gaming Authority
                                                           $108,957.00           $108,957.00
